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                                          Attachment A

            I, Khue Hoang, have been admitted to practice in the following courts:

                            Title of Court                                   Date Admitted
U.S. Court of Appeals, Eleventh Circuit
California State Courts (205917)                                       1/3/2000
New York State Court (4131850)                                         3/21/2003
United States District Court for the Eastern District of New York      4/25/2006
United States District Court for the Southern District of New York     4/25/2006
United States District Court for the Northern District of California   1/25/2012
U.S. District Court, Central District of California                    9/18/2012
United States Court of Appeals, Federal Circuit                        8/1/2013
United States District Court Eastern District of Texas                 1/16/2015
United States Supreme Court                                            1/17/2017
United States District Court Southern District of Texas                5/11/2017
United States District Court Southern District of Georgia              1/9/2018
U.S. District Court, Northern District of Illinois                     8/16/2023
